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                                      U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York

                                                    86 Chambers Street, 3rd Floor
                                                    New York, New York 10007


                                                    March 31, 2022


BYECF

The Hon. Lewis A. Kaplan
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Wilson v. FBI
               No. 20-cv-10324 (LAK) (SDA)

Dear Judge Kaplan:

        This Office represents Defendant in the above-captioned action which Plaintiff brings
pursuant to the Freedom oflnformation Act. On February 16, 2022, the Honorable Stewart D.
Aaron issued a report and recommendation with respect to the parties' cross-motions for
summary judgment. See Dkt. No. 44 ("Report and Recommendation"). Therein, he granted in
part and denied in part both parties ' motions. Any objections to the Report and Recommendation
are currently due April 1, 2022.

         The parties write to jointly inform the Court that they do not intend to file objections to
the Report and Recommendation. In the Report and Recommendation, the Court ordered
Defendant to conduct an additional search of one of its databases. Defendant has conducted this
search and found no responsive records. The parties respectfully request that they be permitted
to file a status update with the Court in two weeks to propose what next steps, if any, remain in
this litigation.

       Accordingly, the parties respectfully request that they provide a status update to the Court
on April 15, 2022.
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                                  Respectfully,

                                  DAMIAN WILLIAMS
                                  United States Attorney for the
                                  Southern District of New York

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